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                      UNITED STATES DISTRICT COURT

                           DISTRICT OF MINNESOTA


Brian Thomas Hoyland,

                    Plaintiff,

v.                                      Court File No. 14-cv-02977 SRN/KMM

Shawn McMenomy, individually            PLAINTIFF’S TRIAL BRIEF
and in his official capacity; Henry
Cho, individually and in his official
capacity; Alex Eckstein,
individually and in his official
capacity; Ryan Coughlin,
individually; and the City of
Rosemount.

                    Defendants.


      COMES NOW plaintiff, Brian Hoyland, by and through the

undersigned counsel, and pursuant to the Amended Trial Notice and Final

Pretrial Order (Doc. No. 59), hereby submits his trial brief.

1. Trial counsel.

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2. Jury/Non-jury.

      Both parties have demanded a jury trial. The case is therefore to be

tried to a jury.

3. Length of trial.

      Plaintiff estimates that the length of the trial, including jury selection

and jury charge, will be three full trial days.

4. Jurisdiction.

      This action is brought pursuant to 42 U.S.C. §§1983 and 1988 and the

Fourth Amendment to the United States Constitution. Jurisdiction is

founded upon 28 U.S.C. §§1331, 1343(a)(3) and (4) and 1367(a) and the

aforementioned statutory and constitutional provisions.

5. Facts.

      Brian Thomas Hoyland, his wife, Christina, and their three children

live in Rosemount, Minnesota. The family’s home is on Brass Parkway which

is a quiet street with well-kept homes in a peaceful development. Mr.

Hoyland was home along with his children in the early morning hours of May

8, 2013. Though his bedroom is in the back of the house, at approximately

1:34 a.m. he was awoken by the sound of loud voices and yelling coming from

the front of his home. Mr. Hoyland got up, walked to his children’s bedroom,

which was in the front of the house, looked out the front window, and was

shocked by what he saw.


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      A number of police squad cars with their lights flashing and numerous

police officers in uniform with their guns drawn were shouting and yelling.

When Mr. Hoyland heard the word “shoot,” he was concerned for his

children’s safety and brought them to the back bedroom.

      Mr. Hoyland then grabbed his smartphone, went downstairs, and

looked out the front window on the first floor of his home to see what was

going on. Mr. Hoyland could see the officers’ guns and noticed that they were

pointed towards a vehicle in his driveway. Mr. Hoyland recognized Mark

Illetschko, a friend of his wife’s, in handcuffs speaking with one of the officers.

Christina Hoyland had gone out earlier in the evening. Mr. Hoyland was able

to hear the police officers continue to say “shoot” and “shooting” while at the

same time heard his wife’s voice telling the officers that she could not comply

because she was physically unable to do what they were asking her to do.

Hoyland knew that Christina suffered from a chronic medical condition that

left her disabled and partially paralyzed. Based upon the officers escalating

tone of their commands, Mr. Hoyland became very concerned for his wife’s

safety. He felt he had to do something or the officers would shoot his wife for

not doing what she was physically unable to do.

      Mr. Hoyland decided he had to go outside and convey his wife’s handicap

to the officers. Before he did so, he turned on his front porchlight so the officers

could realize that someone was coming out and also see that he was unarmed


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and was not a threat when he opened his front door. By turning on his front

light, Mr. Hoyland also wanted to let the police officers know that there were

people in the home who were potential innocent targets. Mr. Hoyland made

sure that the light in his front doorway was on before he went outside. Mr.

Hoyland had his smartphone with him so he could document what was

happening.

      The officers knew almost immediately that Mr. Hoyland posed no threat

to them. Sgt. Henry Cho in particular yelled out to Mr. Hoyland “drop the

camera.” Other officers quickly determined that the object in his hand was a

cellphone. Nonetheless, the officers continued to order Mr. Hoyland to go

inside his house.

      Once he stepped onto his front doorway, Mr. Hoyland always made sure

that he remained at his front door. Mr. Hoyland has his hands out stretched

and the only thing he was holding was his cellphone. Mr. Hoyland voiced his

concerns about the officers’ escalating conduct and tried to inform them that

his wife was physically handicapped and that they should not shoot her for

doing what she was unable to do.

      No sooner did Mr. Hoyland step onto his front porch then one of the

officers, Shawn McMenomy, told him to go back inside the house. Mr. Hoyland

did not do so as if he did go inside he would not be able to voice his concerns to

the officers and thereby protect his wife from getting shot. While all Mr.


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Hoyland was doing was standing in his doorway some 30 to 40 feet away from

the officers, voicing his concerns about their conduct and his wife’s physical

handicap and video recording their actions; within less than 30 seconds of

Hoyland’s opening his front door Officer McMenomy told him that he was

under arrest. While Mr. Hoyland questioned how he could be under arrest

when he did not do anything wrong, he never physically resisted Officer

McMenomy or Sergeant Henry Cho when they approached him and took him in

custody.

      At the time Mr. Hoyland was told he was under arrest the scene in front

of his house was largely secure. The officers had come to the Hoyland

residence after Officer McMenomy, responding to a call of squealing tires at an

intersection some distance from the Hoyland home, had seen Mr. Illetschko’s

Corvette. Officer McMenomy thought the Corvette might be associated with

the squealing tires and began to follow it. When he saw the tires of the

Corvette touch the dividing line of a roadway, he turned on his overhead lights

and activated his siren to pull the vehicle over. When Mr. Illetschko did not

pull over right away, Officer McMenomy radioed to other Rosemount police

officers that the vehicle was not stopping. After a distance of approximately

one quarter mile and a time period of 29 seconds, Mr. Illetschko did pullover

into the Hoylands’ driveway.




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      At the time Hoyland came out his front door, however, Illetschko had

fully cooperated with the officers from the moment his vehicle stopped and was

in custody in handcuffs in the back of a Rosemount squad car. Hoyland’s wife

Christina was largely compliant with the officers demands, though she was

upset to the point of swearing, as the officers were not listening to her when

she was trying to tell them that she was physically unable to do what they

were demanding that she do and threatening to shoot her if she did not comply.

      At no time did Hoyland do anything to obstruct or interfere with any

Rosemount police officer in the performance of their official duties. He never

did anything to interfere or obstruct with the arrest of Mark Illetschko or the

detention of Christina Hoyland. He never verbally said anything that would

interfere with the officers in the performance of their duties such as telling

either Illetschko or Christina not to comply with the officers demands. At all

times he remained standing in his doorway at least 30 to 40 feet away from any

officer or any other person at the scene.

      Once Mr. Hoyland was arrested he was put in the back of a Rosemount

squad car. While there, one of the officers spoke with him and threatened and

demeaned him.

      Hoyland was then placed in another squad car where he was interviewed

by Officer Alex Eckstein. Hoyland was detained at the scene for approximately

an hour. Though he was ultimately released, Officers McMenomy and


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Eckstein as well as Sergeant Cho collectively issued a citation for the offense of

obstruction of legal process. As a result of this unreasonable arrest, Hoyland

was forced to retain a criminal defense lawyer. He spent approximately $1,500

in legal fees and was forced to appear multiple times in court. Ultimately, the

criminal charge against him was dismissed for lack of probable cause by a

judge of Dakota County District Court. The charges of driving under the

influence of alcohol against Mark Illetschko were also dismissed by order of a

Dakota County District Court judge who found that Officer McMenomy’s initial

traffic stop of Mr. Illetschko was unreasonable as there was no reasonable basis

to suspect Mr. Illetschko of engaging in any criminal conduct or traffic offense.

      In addition to the attorney fees for his criminal defense attorney,

Hoyland will prove that he suffered humiliation, anger, short term feelings of

despondency as well as minor and short term physical effects, such as loss of

sleep as a result of the officers’ conduct.

6. Plaintiff’s claims.

      Plaintiff claims that defendants McMenomy, Cho and Eckstein are liable

under 42 U.S.C. §1983 in two ways.

      First, they violated Mr. Hoyland’s right to be free from unreasonable

seizure in violation of the Fourth Amendment to the United States

Constitution. Second, they retaliated against him for engaging in activity




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protected by the First Amendment specifically criticizing their conduct and

video recording their actions.

7. Unresolved issues.

      a. Substantive issues.

      Plaintiff’s claim in Count I alleging a false arrest in violation of the

Fourth Amendment has three elements:

      1. Defendants arrested plaintiff,

      2. Defendants did not have probable cause to arrest the plaintiff, and

      3. Defendants were acting under color of law.

Baribeau v. City of Minneapolis, 596 F.3d 465, 478 (8th Cir. 2010). Plaintiff

anticipates that the first and third elements of this count will not be in dispute.

Plaintiff expects the defendants will contend they had probable cause to believe

that Mr. Hoyland violated Minnesota’s obstruction of legal process statute

under Minn. Stat. §609.50, subd. 1(2).

      In framing the arrest without probable cause element, the United States

District Court is bound by the decisions of the Minnesota Supreme Court.

Baribeau, 596 F.3d at 475. The leading case interpreting and narrowly

defining Minnesota’s obstruction of legal process statute is State v. Krawsky,

426 N.W.2d 875 (Minn. 1988). The Krawsky court clarified when conduct

amounts to criminal obstruction:




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      First the statute requires the state to prove that the defendant acted
      “intentionally.”…

      Second…as we interpret it, our statute is directed solely at physical
      acts….

      Third…as we interpret it, our statute is directed at a particular kind of
      physical act, namely, physically obstructing or interfering with an
      officer….(P)hysically obstructing or interfering with a police officer
      involves not merely interrupting an officer but substantially frustrating
      or hindering the officer in the performance of his duties.

      As we read our statute, the statute forbids intentional physical
      obstruction or interference with a police officer in the performance of
      his official duties. The statute may be used to punish “fighting words”
      or any other words that by themselves have the effect of physically
      obstructing or interfering with a police officer in the performance of his
      duties─ e.g., the statute may be used to punish a person who runs
      beside an officer pursuing a felon in a public street shouting and
      cursing at the officer if the shouting and cursing physically obstructs
      the officer’s pursuit and if the person intends by his conduct to obstruct
      or interfere with the officer….However, the statute does not apply to
      ordinary verbal criticism directed at a police officer even while the
      officer is performing his official duties and does not apply to the mere
      act of interrupting an officer, even intentionally.

Krawsky, 426 N.W.2d at 877-878.

   Thus, essential elements of the offense of obstructing legal process under

Minnesota law include, inter alia:

      [That] the defendant physical obstructed, resisted or interfered with a
      peace officer in the performance of official duties. “Physically
      obstructed, resisted or interfered with” means the words and acts of the
      defendant must have the effect of substantially frustrating or hindering
      the officer in the performance of the officer’s duties.

      [And that] the defendant acted with the intention of obstructing,
      hindering or preventing the peace officer.



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Minn. Prac. Series, Jury Instruction Guides–Criminal, CRIMJIG 24.26

(2016).

      Any instruction that the Court gives as to the elements of the offense of

obstruction of legal process under Minnesota law should include verbatim the

language from the approved Minnesota criminal jury instruction which

follows the direction of the Minnesota Supreme Court in State v. Krawsky.

      While the defendants will argue that their arrest of Mr. Hoyland was

constitutional as it was objectively reasonable for them to mistakenly believe

that, under the totality of the circumstances, Hoyland was obstructing them

in the performance of their official duties; they should be prohibited from

doing so under the law-of-the-case doctrine. Plaintiff has raised this issue

both in his renewed motion for partial summary judgment (Doc. No. 77) and

in a motion in limine. (Doc. No. 71). Under the authority set forth in support

of these motions, based upon the holding of the Eighth Circuit Court of

Appeals in Hoyland v. McMenomy, 869 F.3d 644 (8th Cir. 2017); this Court

should rule as a matter of law that the officers’ mistaken belief that they had

probable cause to arrest Hoyland for obstruction of legal process under

Minnesota law was not objectively reasonable. The Court should therefore

find that all three defendants are liable to plaintiff under Count I and the

only remaining issue is what amount of damages should the plaintiff be

awarded as a result of the Fourth Amendment violation.


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      Plaintiff’s claim of First Amendment retaliatory arrest in Count II has

four elements. Plaintiff must show:

      1. He engaged in a protected activity;
      2. The government official took adverse action against him that would
         chill a person of ordinary firmness from continuing in the activity;
      3. The adverse action was motivated at least in part by the exercise of
         the protected activity; and
      4. Lack of probable cause or arguable probable cause.

Hoyland, 869 F.3d at 655.

      The Eighth Circuit Court of Appeals has found that Hoyland’s

communications to the officers were protected activity. Id at 656. The Eighth

Circuit also found that the officers’ actions against Hoyland in arresting him

“would chill a person of ordinary firmness” from exercising his right to free

expression in the future. Hoyland, 869 F.3d at 656-657. Also, the Eighth

Circuit has ruled as a matter of law that the officers lacked probable cause or

arguable probable cause to arrest Hoyland. Hoyland, 869 F.3d at 657. Thus,

as to the First Amendment retaliatory arrest claim, the only remaining issue

to be determined by a jury is whether the officers’ actions in arresting Mr.

Hoyland were motivated at least in part by the exercise of his First

Amendment protected activity.

      b. Evidentiary issues.

      Plaintiff will elect at trial not to offer any medical testimony, medical or

psychological experts, or medical records in support of his damages claim. He



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will not be making any claim that he suffered a specific psychological injury

or specific mental disorder as a result of the incident. Because the plaintiff

will thus be limiting his claim for emotional distress to a “garden variety”

emotional distress claim, the defense should be precluded from offering

plaintiff’s medical or psychological records as exhibits or cross-examining the

plaintiff based upon these records at trial. See Ewald v. Royal Norwegian

Embassy, 2013 WL 12140175, p. 6 (D. Minn. 2013). The Court is respectfully

referred to plaintiff’s Motion in Limine to Prohibit Introduction of

Psychological Evidence (Doc. No. 69) for further authority in support of this

motion.



                                       Respectfully submitted,

DATED: November 8, 2017
                                       GOETZ & ECKLAND P.A.



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